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IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF FLORIDA
TAMPA DIVISION

NANCY SHER, individually and as Trustee of
the Nancy Sher Revocable Living Trust,
JAMES R. ABEL, CAROL A. CALECA, Case No. 8:08-cv-889-T-33AEP
LOUIS GIOCONDO, BETTY L. KEY,
individually, and on behalf of all others
similarly situated,

Plaintiffs,
Vv.
RAYTHEON COMPANY,

Defendant.

JOINT MOTION TO AMEND CASE MANAGEMENT AND SCHEDULING ORDER

Plaintiffs Nancy Sher, James R. Abel, Carol A. Caleca, Louis Giocondo, and Betty L.
Key (collectively, the “Plaintififs”) and Defendant Raytheon Company (“Raytheon”), by and
through their respective counsel, jointly move this court to amend the Case Management and
Scheduling Order as more specifically set forth below. In support of this motion, the parties
state as follows:

1. The parties have worked diligently to complete fact and expert discovery and
to move this matter towards trial. However, the parties need additional time to complete
expert discovery in an orderly fashion and to fully brief the issues associated with Daubert

motions and dispositive motions.

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2. Therefore, subject to the Court’s approval, the parties specifically seek to

amend the Case Management and Scheduling Order as follows:

Current Schedule Proposed New Schedule

Completion of Depositions April 8, 2010 May 6, 2010
of Plaintiffs’ Merits Experts
Defendant’s Merits Expert May 7, 2010 June 11, 2010
Reports
Completion of Depositions June 8, 2010 July 2, 2010
of Defendant’s Merits
Experts
Plaintiffs’ Rebuttal Merits June 18, 2010 July 23, 2010
Expert Reports
Completion of Depositions July 2, 2010 August 13, 2010
of Plaintiffs’ Rebuttal Merits
Experts
Daubert Motions July 30, 2010 September 16, 2010
Responses to Daubert August 19, 2010 October 19, 2010
Motions
Dispositive Motions September 17, 2010 November 16, 2010
Responses to Dispositive October 7, 2010 December 14, 2010
Motions
Joint Pretrial Statement February 1, 2011 March 31, 2011
Final Pretrial Conference February 4, 2011 April 7, 2011
Trial March 2011 May 9, 2011

3. These proposed amendments to the Case Management and Scheduling Order

will give the parties additional time to complete expert discovery and will also allow the
parties to spread out their briefing on Daubert and dispositive motions in a logical manner,
while still giving the Court the same amount of time to consider and rule on those motions in
advance of trial.

4, In addition, the proposed amendments will still allow this matter to be brought

to trial within three years of when it was docketed.

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WHEREFORE, Plaintiffs and Raytheon respectfully request that this Court enter an

Order amending the Case Management and Scheduling Order as more specifically set forth

above.

Date: March 31, 2010

s/ Brian H. Barr

Respectfully submitted,

s/ Dennis P. Waggoner

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